                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In Re:

Abdoun Holding Estates, LLC                              Case No. 21-48063
A Michigan Limited Liability Company

Debtor
_________________________________/

Abdoun Holding Estates, LLC
A Michigan Limited Liability Company

                       Plaintiff,
v.

Oudia Abdulnoor and
Midwest Hospitality Services, LLC


                       Defendants.
                                                   /

                 NOTICE OF REMOVAL UNDER FEDERAL RULE OF
             BANKRUPTCY PROCEDURE 9027 AND 28 U.S.C. SECTION 1452(a)

         NOW COMES, Abdoun Holding Estates, LLC, by and through its attorneys, OSIPOV

BIGELMAN, P.C. and state as follows:

             1. The Debtor filed a Voluntary Petition under Chapter 11 of the United States

Bankruptcy Court (the “Code”) on October 11, 2021 (the “Petition Date”). The Voluntary

Petition was filed in the United States Bankruptcy Court for the Eastern District of Michigan,

Southern Division, Case No. 21-48063.

             2. Prior to the Petition Date, Abdoun Holding Estates, LLC, (“Debtor”) filed a

Complaint in the Oakland County Circuit Court for the State of Michigan, Case No. 2019-

177667-CB (the “Action”), against Oudia Abdulnoor and Midwest Hospitality Services, LLC.

In the Complaint, Debtor seeks to recover damages against Defendants.


{00149119}
     21-48063-tjt   Doc 21     Filed 10/25/21   Entered 10/25/21 18:43:17     Page 1 of 2
           3. Pursuant to Federal Rule of Bankruptcy Procedure 9027 and 28 U.S.C. Section

1452(a), the Debtor may remove this Action to this Court. Notice of Removal is timely pursuant

to Federal Rule of Bankruptcy Procedure 9027(a)(2).

           4. The United States District Court for the Eastern District of Michigan has

jurisdiction over this case pursuant to 28 U.S.C. Section 1334(b) because the Action is related to

Debtor’s Chapter 11 bankruptcy case. This matter is a core proceeding under 28 U.S.C. Section

157(b), in which the United States Bankruptcy Courts may enter final orders and judgment,

because, among other things, it involves “matters concerning the administration of the estate”

and because it affects “the liquidation of the assets of the estate or the adjustment of the debt-or

creditor…relationship.” See 28 U.S.C. § 157(b)(2)(A) and (O).

           5. To the extent this matter is deemed to be Constitutionally non-core, Debtor

consents to entry of final orders and judgments by the Bankruptcy Court. Wellness International

Network, Ltd. v. Sharif, 575 US 665, 135 S. Ct. 1932, 2015 WL 2456619 (2015).

           6. Copies of all pleadings and processes in the removed action are attached.

                                              Respectfully Submitted:

                                              OSIPOV BIGELMAN, P.C.


                                              /s/ Thomas D. DeCarlo
                                              Yuliy Osipov (P59486)
                                              Anthony Miller (P71505)
                                              Thomas D. DeCarlo (P65330)
                                              Attorneys for Abdoun Holding Estates, LLC.
                                              20700 Civic Center Drive, Ste. 310
                                              Southfield, MI 48076
                                              Tel: (248) 663-1800 / Fax: (248) 663-1801
                                              yo@osbig.com, am@osbig.com, tdd@osbig.com

Dated: October 25, 2021




   21-48063-tjt     Doc 21     Filed 10/25/21     Entered 10/25/21 18:43:17        Page 2 of 2
